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                EXHIBIT 9
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The Surety & Fidelity Association of America                            MEMBERSHIP LIST BY COMPANY


             1. Acadia Insurance Company
             2. Accelerant National Insurance Company
             3. Accelerant Specialty Insurance Company
             4. Accredited Surety & Casualty Company
             5. ACE American Insurance Company
             6. ACE Fire Underwriters Insurance Company
             7. ACE Insurance Company
             8. ACE Insurance Company of the Midwest
             9. ACE Property and Casualty Insurance Company
            10. Acuity, A Mutual Insurance Company
            11. Admiral Indemnity Company
            12. AIG Assurance Company
            13. AIG Insurance Company - Puerto Rico
            14. AIG Property Casualty Company
            15. AIG Specialty Insurance Company
            16. AIU Insurance Company
            17. All America Insurance Company
            18. Allegheny Casualty Company
            19. Allianz Global Risks US Insurance Company
            20. Allied Property and Casualty Insurance Company
            21. Allmerica Financial Alliance Insurance Company
            22. AMCO Insurance Company
            23. American Alternative Insurance Corporation
            24. American Builders Insurance
            25. American Casualty Company of Reading, Pennsylvania
            26. American Contractors Indemnity Company
            27. American Family Home Insurance Company
            28. American Fire & Casualty Company
            29. American Guarantee & Liability Insurance Company
            30. American Home Assurance Company
            31. American Modern Home Insurance Company
            32. American Modern Lloyds Insurance Company
            33. American Road Insurance Company, The
            34. American Safety Casualty Insurance Company
            35. American Select Insurance Company

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The Surety & Fidelity Association of America                                  MEMBERSHIP LIST BY COMPANY


            36. American Southern Home Insurance Company
            37. American Southern Insurance Company
            38. American Surety Company
            39. American Western Home Insurance Company
            40. American Zurich Insurance Company
            41. Amerisure Insurance Company
            42. Amerisure Mutual Insurance Company
            43. Amtrust Insurance Company of Kansas
            44. Arch Indemnity Insurance Company
            45. Arch Insurance Company
            46. Arch Reinsurance Company
            47. Argonaut Great Central Insurance Company
            48. Argonaut Insurance Company
            49. Argonaut-Midwest Insurance Company
            50. Ascot Surety & Casualty Company
            51. Assurance Company of America
            52. Atlantic Employers Insurance Company
            53. Atlantic Specialty Insurance Company
            54. Automobile Insurance Company of Hartford, Connecticut (The)
            55. Auto-Owners Insurance Company
            56. Avemco Insurance Company
            57. Axis Insurance Company
            58. Axis Reinsurance Company
            59. Bankers Standard Fire & Marine Company
            60. Bankers Standard Insurance Company
            61. Bar Plan Mutual Insurance Company (The)
            62. Bar Plan Surety and Fidelity Company (The)
            63. Beazley Insurance Company, Inc.
            64. Berkley Insurance Company
            65. Berkley National Insurance Company
            66. Berkley Regional Insurance Company
            67. Berkshire Hathaway Homestate Insurance Company
            68. Berkshire Hathaway Specialty Insurance Company
            69. Bituminous Casualty Corporation
            70. Bituminous Fire & Marine Insurance Company

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The Surety & Fidelity Association of America                           MEMBERSHIP LIST BY COMPANY


            71. Blue Ridge Indemnity Company
            72. Bond Safeguard Insurance Company
            73. Bondex Insurance Company
            74. Brierfield Insurance Company
            75. California Insurance Company
            76. Capitol Indemnity Corporation
            77. Caribbean Alliance Insurance Company
            78. Carolina Casualty Insurance Company
            79. Central Mutual Insurance Company
            80. Charter Oak Fire Insurance Company (The)
            81. Chubb Custom Insurance Company
            82. Chubb Indemnity Insurance Company
            83. Chubb Insurance Company of New Jersey
            84. Chubb National Insurance Company
            85. Cincinnati Casualty Company
            86. Cincinnati Indemnity Company
            87. Cincinnati Insurance Company
            88. Citizens Insurance Company of America
            89. Clearwater Insurance Company
            90. Colonial American Casualty & Surety Company
            91. Commerce and Industry Insurance Company
            92. Continental Casualty Company
            93. Continental Divide Insurance Company
            94. Continental Indemnity Company
            95. Continental Insurance Company (The)
            96. Continental Insurance Company of New Jersey (The)
            97. Continental Western Insurance Company
            98. Contractors Bonding and Insurance Company
            99. Coopertiva de Seguros Multiples de Puerto Rico
          100. Corepointe Insurance Company
          101. Crum & Forster Indemnity Company
          102. Crum & Forster Insurance Company
          103. Cumis Insurance Society, Inc.
          104. Cypress Insurance Company
          105. Dairyland Insurance Company

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The Surety & Fidelity Association of America                        MEMBERSHIP LIST BY COMPANY


          106. Dakota Fire Insurance Company
          107. Depositors Insurance Company
          108. Developers Surety and Indemnity Company
          109. Discover Property & Casualty Insurance Company
          110. Discover Specialty Insurance Company
          111. Eastern America Insurance Company
          112. Electric Insurance Company
          113. EMC Property & Casualty Company
          114. Emcasco Insurance Company
          115. Empire Fire & Marine Insurance Company
          116. Empire Indemnity Insurance Company
          117. Employers Insurance Company of Wausau
          118. Employers Mutual Casualty Company
          119. Endurance American Insurance Corporation
          120. Endurance Assurance Corporation
          121. Erie Insurance Company
          122. Erie Insurance Exchange
          123. Erie Insurance Property & Casualty Company
          124. Euler Hermes North America Insurance Company
          125. Everest National Insurance Company
          126. Everest Reinsurance Company
          127. Evergreen National Indemnity Company
          128. Everspan Insurance Company
          129. Executive Risk Indemnity Inc.
          130. Executive Risk Specialty Insurance Company
          131. Explorer Insurance Company
          132. Fair American Insurance and Reinsurance Company
          133. Fairmont Insurance Company
          134. Fairmont Premier Insurance Company
          135. Fairmont Specialty Insurance Company
          136. Farmers Alliance Mutual Insurance Company
          137. Farmington Casualty Company
          138. Farmland Mutual Insurance Company
          139. FCCI Insurance Company
          140. Federal Insurance Company

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The Surety & Fidelity Association of America                           MEMBERSHIP LIST BY COMPANY


          141. Federated Mutual Insurance Company
          142. Federated Reserve Insurance Company
          143. Federated Service Insurance Company
          144. Fidelity & Deposit Company of Maryland
          145. Fidelity and Guaranty Insurance Company
          146. Fidelity and Guaranty Insurance Underwriters, Inc.
          147. Financial Pacific Insurance Company
          148. Fireman's Fund Insurance Companies
          149. First Insurance Company of Hawaii, Ltd.
          150. First Liberty Insurance Corporation
          151. First National Insurance Company of America
          152. First Surety Corporation
          153. Firstline National Insurance Company
          154. Florida Farm Bureau General Insurance Company
          155. Fortegra Specialty Insurance Company
          156. Frankenmuth Mutual Insurance Company
          157. Freedom Specialty Insurance Company
          158. General Casualty Company of Wisconsin
          159. General Reinsurance Corporation
          160. General Star National Insurance Company
          161. Genesis Insurance Company
          162. Granite Re, Inc.
          163. Granite State Insurance Company
          164. Gray Casualty & Surety Company, The
          165. Gray Insurance Company, The
          166. Great American Alliance Insurance Company
          167. Great American Assurance Company
          168. Great American Insurance Company
          169. Great American Insurance Company of New York
          170. Great American Security Insurance Company
          171. Great Divide Insurance Company
          172. Great Midwest Insurance Company
          173. Great Northern Insurance Company
          174. Great West Casualty Company
          175. Greater New York Mutual Insurance Company

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The Surety & Fidelity Association of America                             MEMBERSHIP LIST BY COMPANY


          176. Guarantee Company of North America USA (The)
          177. Hamilton Mutual Insurance Company, The
          178. Hannover Ruck Re
          179. Hanover Insurance Company, The
          180. Harco National Insurance Company
          181. Harford Mutual Insurance Company
          182. Hartford Accident and Indemnity Company
          183. Hartford Casualty Insurance Company
          184. Hartford Fire Insurance Company
          185. Hartford Insurance Company of Illinois
          186. Hartford Insurance Company of the Midwest
          187. Hartford Insurance Company of the Southeast
          188. Hartford Underwriters Insurance Company
          189. Hiscox Insurance Company Inc.
          190. Home-Owners Insurance Company
          191. Housing & Redevelopment Insurance Exchange
          192. Houston Casualty Company
          193. Hudson Insurance Company
          194. ICI Mutual Insurance Company, a Risk Retention Group
          195. Illinois Emcasco Insurance Company
          196. Illinois Insurance Company
          197. Illinois National Insurance Company
          198. Imperium Insurance Company
          199. IMT Insurance Company (Mutual)
          200. Indemnity Company of California
          201. Indemnity Insurance Company of North America
          202. Indemnity National Insurance Company
          203. Independence Casualty and Surety Company
          204. Indian Harbor Insurance Company
          205. Indiana Lumbermens Mutual Insurance Company
          206. Insurance Company of Greater New York
          207. Insurance Company of North America
          208. Insurance Company of the South
          209. Insurance Company of the State of Pennsylvania (The)
          210. Insurance Company of the West

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The Surety & Fidelity Association of America                        MEMBERSHIP LIST BY COMPANY


          211. International Fidelity Insurance Company
          212. Ironshore Indemnity Inc.
          213. Jet Insurance Company
          214. KnightBrook Insurance Company
          215. Lackawanna Casualty Company
          216. Lexington National Insurance Corporation
          217. Lexon Insurance Company
          218. Liberty Insurance Corporation
          219. Liberty Insurance Underwriters Inc.
          220. Liberty Mutual Fire Insurance Company
          221. Liberty Mutual Insurance Company
          222. Lightning Rod Mutual Insurance Company
          223. LM Insurance Corporation
          224. Lyndon Southern Insurance Company
          225. Main Street America Assurance Company
          226. Mapfre Pan American Insurance Company
          227. Mapfre Praico Insurance Company
          228. Markel Global Reinsurance Company
          229. Markel Insurance Company
          230. Maryland Casualty Company
          231. Massachusetts Bay Insurance Company
          232. Merchants Bonding Company (Mutual)
          233. Merchants National Bonding, Inc.
          234. MIC Property & Casualty Insurance Corporation
          235. Michigan Millers Mutual Insurance Company
          236. Middlesex Insurance Company
          237. Midwest Employers Casualty Company
          238. Milford Casualty Insurance Company
          239. Monroe Guaranty Insurance Company
          240. Motorists Commercial Mutual Insurance Company
          241. Motorists Mutual Insurance Company
          242. Motors Insurance Corporation
          243. Munich Reinsurance America
          244. National Builders Insurance Company
          245. National Casualty Company

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The Surety & Fidelity Association of America                               MEMBERSHIP LIST BY COMPANY


          246. National Fire Insurance Company of Hartford
          247. National Indemnity Company
          248. National Interstate Insurance Company
          249. National Liability & Fire Insurance Company
          250. National Specialty Insurance Company
          251. National Trust Insurance Company
          252. National Union Fire Insurance Company of Pittsburgh, Pennsylvania
          253. Nationwide Agribusiness Insurance Company
          254. Nationwide Insurance Company of America
          255. Nationwide Lloyds
          256. Nationwide Mutual Fire Insurance Company
          257. Nationwide Mutual Insurance Company
          258. Nationwide Property and Casualty Insurance Company
          259. Navigators Insurance
          260. New Hampshire Insurance Company
          261. New York Marine and General Insurance Company
          262. NGM Insurance Company
          263. North American Elite Insurance Company
          264. North American Specialty Insurance Company
          265. North River Insurance Company (The)
          266. Northern Insurance Company of New York
          267. Nova Casualty Company
          268. Oak River Insurance Company
          269. Odyssey America Reinsurance Company
          270. Ohio Casualty Insurance Company
          271. Ohio Farmers Insurance Company
          272. Ohio Security Insurance Company
          273. Old Dominion Insurance Company
          274. Old Guard Insurance Company
          275. Old Republic General Insurance Corporation
          276. Old Republic Insurance Company
          277. Old Republic Surety Company
          278. Old Republic Union Insurance Company
          279. Optima Seguros
          280. Owners Insurance Company

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The Surety & Fidelity Association of America                             MEMBERSHIP LIST BY COMPANY


          281. Pacific Employers Insurance Company
          282. Pacific Indemnity Company
          283. Pacific Insurance Company, Limited
          284. Park Assurance Company
          285. Partner Reinsurance Company of the U. S.
          286. Patriot General Insurance Company
          287. Patriot Insurance Company
          288. Penn Millers Insurance Company
          289. Pennsylvania Insurance Company
          290. Pennsylvania Lumbermens Mutual Insurance Company
          291. Pennsylvania National Mutual Casualty Insurance Company
          292. Philadelphia Indemnity Insurance Company
          293. Phoenix Insurance Company (The)
          294. Platte River Insurance Company
          295. Praetorian Insurance Company
          296. Premier Insurance Company, Inc.
          297. Princeton Insurance Company
          298. Property and Casualty Insurance Company of Hartford
          299. Property-Owners Insurance Company
          300. Protective Insurance Company
          301. Protective Property & Casualty Insurance Company
          302. QBE Insurance Corporation
          303. R+V Versicherung AG Reinsurance
          304. Real Legacy Assurance Company, Inc.
          305. Redwood Fire & Casualty Insurance Company
          306. Republic Western Insurance Company
          307. Response Indemnity Company of California
          308. RLI Indemnity Company
          309. RLI Insurance Company
          310. Rockwood Casualty Insurance Company
          311. Safeco Insurance Company of America
          312. Safety First Insurance Company
          313. Safety National Casualty Corporation
          314. Sagamore Insurance Company
          315. SCOR Reinsurance Company

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The Surety & Fidelity Association of America                         MEMBERSHIP LIST BY COMPANY


          316. Scottsdale Insurance Company
          317. Seaview Insurance Company
          318. Security National Insurance Company
          319. Select Insurance Company
          320. Selective Insurance Company of America
          321. Selective Insurance Company of New England
          322. Selective Insurance Company of New York
          323. Selective Insurance Company of South Carolina
          324. Selective Insurance Company of the Southeast
          325. Selective Way Insurance Company
          326. Seneca Insurance Company, Inc.
          327. Sentry Insurance A Mutual Company
          328. Sentry Select Insurance Company
          329. Service Insurance Company, Inc. (The)
          330. Southern Farm Bureau Causalty Insurance Company
          331. Southern-Owners Insurance Company
          332. Southwest Marine & General Insurance Company
          333. Spring Valley Mutual Insurance Company
          334. St. Paul Fire and Casualty Insurance Company
          335. St. Paul Fire and Marine Insurance Company
          336. St. Paul Guardian Insurance Company
          337. St. Paul Mercury Insurance Company
          338. St. Paul Protective Insurance Company
          339. Standard Fire Insurance Company (The)
          340. Starnet Insurance Company
          341. Starr Indemnity & Liability Company
          342. State Farm Fire & Casualty Company
          343. State Farm General Insurance Company
          344. State National Insurance Company
          345. SureTec Insurance Company
          346. Swiss Reinsurance America Corporation
          347. Technology Insurance Company
          348. Texas Pacific Indemnity Company
          349. TNUS Insurance Company
          350. Tokio Marine and Nichido Fire Insurance Company

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The Surety & Fidelity Association of America                           MEMBERSHIP LIST BY COMPANY


          351. Trans Pacific Insurance Company
          352. Transatlantic Reinsurance Company
          353. Transportation Insurance Company
          354. Travelers Casualty and Surety Company
          355. Travelers Casualty and Surety Company of America
          356. Travelers Casualty Company
          357. Travelers Casualty Company of Connecticut
          358. Travelers Casualty Insurance Company of America
          359. Travelers Commercial Casualty Company
          360. Travelers Commercial Insurance Company
          361. Travelers Constitution State
          362. Travelers Indemnity Company (The)
          363. Travelers Indemnity Company of America (The)
          364. Travelers Indemnity Company of Connecticut (The)
          365. Travelers Property Casualty Company of America
          366. Triple-S Propiedad, Inc.
          367. Tri-State Insurance Company of Minnesota
          368. Trisura Insurance Company
          369. Trisura Specialty Insurance Company
          370. Trumbull Insurance Company
          371. Twin City Fire Insurance Company
          372. U.S. Specialty Insurance Company
          373. Union Insurance Company
          374. Union Insurance Company of Providence
          375. United Casualty & Surety Insurance Company
          376. United Fire and Casualty Company
          377. United States Fidelity and Guaranty Company
          378. United States Fire Insurance Company
          379. United States Surety Company
          380. United Surety & Indemnity Company
          381. Universal Fire & Casualty Insurance Company
          382. Universal Insurance Company
          383. Universal Surety of America
          384. Universal Underwriters Insurance Company
          385. Universal Underwriters of Texas Insurance Company

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The Surety & Fidelity Association of America                          MEMBERSHIP LIST BY COMPANY


          386. Valley Forge Insurance Company
          387. Vantage Risk Assurance Company
          388. Vantage Risk Specialty Insurance Company
          389. Vigilant Insurance Company
          390. Washington International Insurance Company
          391. Watford Insurance Company
          392. Wesco Insurance Company
          393. West American Insurance Company
          394. West Bend Mutual Insurance Company
          395. Westchester Fire Insurance Company
          396. Western National Assurance Company
          397. Western National Mutual Insurance Company
          398. Western Reserve Mutual Casualty Company
          399. Western Surety Company
          400. Westfield Insurance Company
          401. Westfield National Insurance Company
          402. Westport Insurance Corporation
          403. XL Insurance America, Inc.
          404. XL Insurance Company of New York, Inc.
          405. XL Lloyds
          406. XL Reinsurance America Inc.
          407. XL Select Insurance Company
          408. XL Specialty Insurance Company
          409. Zurich American Insurance Company
          410. Zurich American Insurance Company of Illinois




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